Case 1:04-cv-01032-.]DT-STA Document 55 Filed 06/22/05 Page 10f5 Page|D'§,€

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UNITED STATES DISTRICT COURT 05 _V h

WESTERN DISTRICT oF TENNESSEE '- »' ' ~ ‘
EASTERN I)IVISION

 

TIMOTHY D. HARDIN,

 

Plaintiff,

and

LEROY-SOMER NORTH AMERICA,
Intervening Plaintiff,

v. CIVlL NO. I-O4-1032-T-AN
SKYJACK EQUIPMENT, NES; NEW
RENTALS; NATIONAL EQUIPMENT
SERVICES; AND AN UNKNOWN
“NES” ENTITY; BRAMBLES
EQUIPMENT SERVICES HOLDINGS,
INC.; BRAMBLES U.S.A., INC.;
BRAMBLES EQUIPMENT SERVICES,
INC.; BRAMBLES CANADA, INC.;
BRAMBLES EQUIPMENT SERVICES,
INC.; MAGNETEK REYNOSA AND
MAGNETEK,

`r’\_/"_/\p’\./\_/‘\_/\_/\_/‘\./\_/\_¢‘-_/\_JH\/"-r"_#`\_/WWV\-i\_/\_¢`_¢

Defendants.

 

ORDER GRANTING EXTENSION OF TIME
WITHIN VVHICH TO F`ILE RESPONSIVE PLEADING

 

Upon Motion of the Defendants, Brambles Canada, Inc. and Brambles Equipment

Services, Inc., and for good cause shown, the Defendants Motion for Extension of Time to

This documem entered on €he docket sheei in compiiance
with Rule 58 and,*o.r_?@ (a} FP.CP on 3 f 3 ar

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Case 1:04-cv-01032-.]DT-STA Document 55 Filed 06/22/05 Page 2 of 5 Page|D 47

File Responsive Pleading is hereby granted, and the Couit extends the time in Which the

Def`endants must file their responsive pleading up to and including Friday, July 15, 2005.

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U'.S.-B'I-S:FHG}`-€-Q-UR$JUDGE

Case 1:04-cv-01032-.]DT-STA Document 55 Filed 06/22/05 Page 3 of 5 Page|D 48

CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing has been forwarded via U.S. Mail, postage
prepaid to:

R. Steven Beal, Esq.
22 Monroe Street
Lexington, TN 38351

T. J. Eniison, Jr., Esq.
P. O. Box 13
Alamo, TN 38001

Jonathan O. Steen, Esq.
464 North Parkway, Suite A
Jackson, TN 38301

J. Randall Davis, Esq.
415 Washington Street, Suite 214
Waukegan, IL 60085-5564

Richard D. Moore, Esq.
210 Third Avenue North
P. O. Box 190683
Nashville, TN 37219-0683

Robin H. Rasrnusen, Esq.
6000 Poplar Avenue, Suite 400
Mernphis, TN 381 19-3972

this w day of , 2005.

 

R. DOUGLAS HANSON

  
 

  
 

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Todd B. Murrah

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

i\/lemphis7 TN 38103

Richard D. Moore

LEVINE ORR & GERACIOTI
210 Third Avenue N.

P. O. BoX 190683

Nashville, TN 372 l 9--068

John R. Davis

CASSIDAY SCHADE & GLOOR
415 Washington St.

Ste. 214

V\iaukegan7 IL 60085--5 56

Jonathan O. Steen

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jackson7 TN 38305

Robert Steve Beal

LAW OFFICES OF STEVE BEAL
22 Monroe Avenue

Lexington, TN 38351

Robin H. Rasmussen

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

i\/lemphis7 TN 38119--397

Richard D. Moore

LEVINE ORR & GERACIOTI
210 Third Avenue N.

P. O. BoX 190683

Nashville, TN 372 l 9--068

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T. J. Emison
EMISON & EMISON
P.O. BOX 13

30 West Main Street
Alamo, TN 38001

Honorable J ames Todd
US DISTRICT COURT

